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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                               )
 In re:                                                        )       Chapter 11
                                                               )
 WELLPATH HOLDINGS, INC., et al.,                              )
                                                               )       Case No. 24-90533 (ARP)
                            Debtor.                            )
                                                               )
                                   SUPPLEMENTAL1 EXHIBIT LIST

 Judge:                           Hon. Alfredo R. Pérez
 Courtroom Deputy:                Akeita House
 Hearing Date:                    January 14, 2025
 Hearing Time:                    9:30 a.m. prevailing Central Time
 Party’s Name:                    Plaintiffs reflected in ECF 245-1 (the “Claimants”)
 Attorney’s Name:                 R. J. Shannon
 Attorney’s Phone:                (713) 714-5770
 Nature of Proceeding:            Hearing on:
                                     1. Debtors’ Emergency Motion for Entry of an Order (I)
                                         Authorizing the Debtors to (A) Honor and Incur Obligations
                                         to Professional Corporations and (B) Obtain New
                                         Professional Corporation Contracts, (II) Extending Statutory
                                         Protections to Professional Corporations, and (III) Granting
                                         Related Relief [ECF No. 15]

                                       2. Debtors’ Emergency Motion for Entry of Interim and Final
                                          Orders to Enforce the Automatic Stay or in the Alternative
                                          Extend the Automatic Stay to Non-Debtor Defendants [ECF
                                          No. 17]
 Witnesses:                            1. Any witness called or designated by any other party; and

                                       2. Any witness necessary to rebut the testimony of any witness
                                          called or designated by any other party.



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  The Claimants intend to seek admission of these exhibits to the extent necessary to rebut the false statements
presented in the Debtors’ Omnibus Reply in Support of Debtor’s Emergency Motion for Entry of Interim and Final
Orders to Enforce the Automatic Stay or in the Alternative Extend the Automatic Stay to Non-Debtor Defendants
[ECF No. 897], which was filed after the deadline for filing witness and exhibit lists pursuant to the Local Bankruptcy
Rules. The listed exhibits are in addition to those reflected in the Claimants’ Witness and Exhibit List [ECF No. 885].
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                                            EXHIBITS


                                                                               Admitted
Ex.                   Description                        Offered   Objection     /Not     Disposition
                                                                               Admitted

42    Notice of Stay in Desir v Sheriff Gregory
      Tony, et al., Case No. 23-cv-60499-AHS
      (S.D. Fla.)

43    Order re: Amended Motion for Preliminary
      Approval of Settlement in Alemeda County
      Male Prisoners v. Alameda County Sheriff’s
      Office, et al., Case No. 3:19-cv-07423 JSC
      (N.D. Cal.)

44    Defendant County of Fresno and Fresno
      County Sheriff’s Department’s Response to
      Order to Show Cause Why Case Should Not
      be Stayed in C.R.A. v. Fresno County et al.,
      Case No. 1:23-cv-00672-KES-BAM (E.D.
      Cal.)

45    Suggestion of Bankruptcy and Notice of
      Stay in O’Neil v. Las Vegas Police
      Department, et al., Case No. 2:22-cv-00474
      (D. Nev.)

46    Defendant County of Madera’s Response to
      Order Regarding Whether to Stay Case as to
      Other Defendants in Reynolds et al. v.
      County of Madera, et al., Case No. 1:23-cv-
      00548 (E.D. Cal.)

47    Defendant County of Yuba and Sergant
      Jeffery T. Palmer’s Answer to Plaintiff’s
      Second Amended Complaint in Yang et al.
      v. County of Yuba, et al., Case No. 2:23-cv-
      00066 (E.D. Cal.)




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       The Claimants reserve the right to supplement, amend, or delete any witness and exhibits

prior to the hearing. The Claimants also reserve the right to (a) ask the Court to take judicial notice

of any document, (b) introduce exhibits previously admitted or attached as exhibits to the relevant

pleadings, (c) introduce any exhibit necessary or appropriate to necessary to rebut the testimony

of any witnesses called or designated by any other party or an exhibit introduced or designated by

any other party, and (e) seek to introduce any exhibit designated by any other party.


 Dated: January 13, 2025                        Respectfully submitted,

                                                SHANNON & LEE LLP

                                                /s/R. J. Shannon                .
                                                R. J. Shannon (TBA No. 24108062)
                                                2100 Travis Street, STE 1525
                                                Houston, TX 77002
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                                                Bankruptcy Co-Counsel to the Claimants for the
                                                Limited Purpose of Responding to the Stay Motion




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